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		OSCN Found Document:IN THE MATTER OF THE REINSTATEMENT OF MUNRO

					

				
  



				
					
					
						
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				IN THE MATTER OF THE REINSTATEMENT OF MUNRO2021 OK 19485 P.3d 823Case Number: SCBD-6990Decided: 04/12/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 19, 485 P.3d 823

				
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IN THE MATTER OF THE REINSTATEMENT OF: KEITH GIFFORD MUNRO
TO MEMBERSHIP IN THE OKLAHOMA BAR ASSOCIATION AND TO THE ROLL OF ATTORNEYS.




ORDER


Petitioner Keith Gifford Munro voluntarily resigned from the Oklahoma Bar Association (OBA) on December 31, 1994, which the OBA accepted on January 9, 1995. On October 21, 2020, Munro filed a petition for reinstatement pursuant to Rule 11, Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2011 ch. 1, app. 1-A. A Trial Panel of the Professional Responsibility Tribunal had a hearing on Munro's petition and unanimously recommended Munro be reinstated.



After de novo review of the record, we find:


1. Munro has complied with the procedural requirements necessary for reinstatement;

2. Munro has established by clear and convincing evidence that he has not engaged in the unauthorized practice of law during the period following his resignation;

3. Munro has established by clear and convincing evidence that he possesses the competency and learning in the law required for reinstatement without re-examination;

4. Munro has established by clear and convincing evidence that he possesses the good moral character necessary for reinstatement to the OBA; and

5. Munro has previously paid all costs incurred in this proceeding.


IT IS THEREFORE ORDERED that the petition of Keith Gifford Munro for reinstatement is granted. The OBA's Application to Assess Costs is denied.

IT IS FURTHER ORDERED that reinstatement is conditioned upon the payment of dues for calendar year 2021. Dues shall be paid within 30 days of the date of this Order. Upon payment of his 2021 membership dues, Munro shall be reinstated to membership in the OBA and his name shall be added to the roll of attorneys. Munro shall complete mandatory continuing legal education for calendar year 2021 in the same manner as other members of the OBA.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 12th DAY OF APRIL, 2021.


/S/CHIEF JUSTICE



Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson, Combs, Gurich, Rowe, JJ., concur.



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